      Case 1-22-41410-jmm              Doc 99      Filed 07/31/23     Entered 08/01/23 09:41:24




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------X
In re:                                                              Chapter 11

FRALEG GROUP, INC.,                                                 Case No.: 22-41410-jmm

                                    Debtor.
------------------------------------------------------------X

             ORDER GRANTING APPLICATION FOR ALLOWANCE OF FINAL
                COMPENSATION AND REIMBURSEMENT OF EXPENSES

          Upon consideration of the first and final applications for Allowance of Final Compensation

and Reimbursement of Expenses of: (i) the Law Offices of Avrum J. Rosen, PLLC, as retained

counsel for the period between June 17, 2022 through June 28, 2023 [Dkt. No. 89]; and (ii) MYC

& Associates Inc., as retained real estate broker for the period of December 19, 2022 through June

28, 2023 [Dkt. No. 91] (collectively, the “Applications”), for professional services rendered and

expenses incurred in the instant bankruptcy of Fraleg Group, Inc., debtor and debtor-in-possession

(the “Debtor”); and the Law Offices of Avrum J. Rosen, PLLC have agreed to a reduction of

$1,800.00 of profession fees to its Application [Dkt. No 96]; and a hearing having been held before

this court to consider the Applications on July 26, 2023; and notice having been given pursuant to

Federal Rules of Bankruptcy Procedure 2002(a)(6) and (c)(2); and due consideration having been

given to any responses thereto; and sufficient cause having been shown therefor, it is hereby;

          ORDERED that the Application is granted to the extent set forth herein; and it is further

          ORDERED that the Law Offices of Avrum J. Rosen, PLLC is awarded fees in the amount

of $122,052.50, and expenses in the sum of $2,910.18 for a total amount of $124,962.68; and it is

further

          ORDERED that the Law Offices of Avrum J. Rosen, PLLC, may apply the amount of

$10,738.00, representing the remaining portion of the pre-petition retainer being held in the
     Case 1-22-41410-jmm         Doc 99     Filed 07/31/23    Entered 08/01/23 09:41:24




counsel for the Debtor’s, Avrum J. Rosen’s, New York State Interest on Lawyer Account Fund, to

the awarded sum of $114,224.68; and it is further

       ORDERED that the MYC & Associates Inc., is awarded fees in the amount of $16,217.50,

and expenses in the sum of $1,577.12 for a total amount of $17,794.62; and it is further

       ORDERED that the Debtor be authorized to pay: (i) the Law Offices of Avrum J. Rosen,

PLLC the remaining balance of $114,224.68; and (ii) MYC & Associates Inc. the balance of

$17,794.62.




 Dated: July 31, 2023                                           ____________________________
        Brooklyn, New York                                             Jil Mazer-Marino
                                                                 United States Bankruptcy Judge
